Case: 1:16-cv-08303 Document #: 215 Filed: 10/18/18 Page 1 of 2 PageID #:2965




                            Exhibit R
Sick Call Log Regarding T.S. Toothache
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                                                                                              at JTDC
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                 ,One Date per Page please)                   HEALl fi1 SERVICE REQUEST FORM LOG (Sick Call Log)

RESIDENT NAME                                DOB       I POD i                1.\   COMPLAINT                       DATE     RESP        NSG.      CLINIC      RESOLVED          DEN~           MH       I Nur~
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